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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION




          AGREED MOTION FOR ENTRY OF DOCKET CONTROL ORDER

       Plaintiff Flectere LLC and Defendant Academy, Ltd. hereby notify the Court that they have

reached agreement on the Docket Control Order to be used in the above matter. Accordingly, the

Parties hereby respectfully request that the Court approve and enter the same.

 DATED: October 26, 2018                          Respectfully submitted,



                                                  /s/ Kenneth Matuszewski

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                                    Certificate of Service

       Undersigned counsel hereby certifies that on this 26th day of October, a copy of the

foregoing document was served via ECF on all counsel of record.

                                      /s/ Kenneth Matuszewski
                                         Counsel for Plaintiff
